 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 1 of 18 Page ID #:664




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                           UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16
     NORA PHILLIPS; ERIKA PINHEIRO;                   NO. 2:19-CV-6338-SVW-JEM
17   and NATHANIEL DENNISON,
                    Plaintiffs,
18        v.
19   UNITED STATES CUSTOMS AND                        [PROPOSED]
                                                       xxxxxxxxxxx PROTECTIVE
     BORDER PROTECTION; MARK
20   MORGAN, in his official capacity as              ORDER
     Acting Commissioner of U.S. Customs
21   and Border Protection; UNITED
     STATES IMMIGRATION AND
22   CUSTOMS ENFORCEMENT;                             Honorable John E. McDermott
     MATTHEW ALBENCE, in his official                 United States Magistrate Judge
23   capacity as Deputy Director and Senior
     Official Performing the Duties of the
24   Director for U.S. Immigration and
     Customs Enforcement; FEDERAL
25   BUREAU OF INVESTIGATION; and
26
     CHRISTOPHER WRAY, in his official
     capacity as director of the Federal Bureau
27   of Investigation,
                           Defendants.
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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 2 of 18 Page ID #:665




 1         Having read and considered the parties’ Joint Stipulation for Protective Order,
 2   and for good cause shown, IT IS HEREBY ORDERED that:
 3         1.     Plaintiffs and Defendants in the above-captioned action are permitted to
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     produce non-privileged information contained in law enforcement records and
 5
     communications or produced at a deposition or hearing that that is law enforcement
 6
     sensitive and for official use only or that is otherwise prohibited from disclosure by
 7
     the Privacy Act, 5 U.S.C. § 552a, et seq. (hereinafter referred to as “Protected
 8
     Information”). The following terms govern with respect to all such documents and
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     information exchanged or disclosed by the parties in this action, whether before or
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     after the entry of this Protective Order (“Order”).
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           2.     Good Cause Statement. Defendants believe this action is likely to
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     involve the production of non-privileged information contained in law enforcement
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14
     records and communications or produced at a deposition or hearing. This non-

15   privileged information is likely law enforcement sensitive and for official use only, in

16   that it may regard such things as law enforcement activities and operations, internal
17   policies, processes and procedures, and training materials, all of which may be
18   protected from disclosure under the Freedom of Information Act, 5 U.S.C. §
19   552(b)(7), or protected from disclosure under other federal law, or which is generally
20   unavailable to the public because its disclosure could adversely impact such things as a
21   person’s privacy or welfare or the conduct of programs or operations essential to the
22   national interest, but which a court may order to be produced. Some of this non-
23   privileged information may also be information prohibited from disclosure by the
24   Privacy Act, 5 U.S.C. § 552a, et seq. (the “Privacy Act”), as it may be personal
25   information located in a Federal government “record” and therefore require the
26   consent of that individual prior to disclosure unless made “pursuant to the order of a
27
     court of competent jurisdiction.” Id. §552a(b)(11). Accordingly, to expedite the flow
28
     of information, to facilitate the prompt resolution of disputes over confidentiality of


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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 3 of 18 Page ID #:666




 1   discovery materials, to adequately protect information Plaintiffs and Defendants are
 2   entitled to keep confidential, to ensure that the Plaintiffs and Defendants are
 3   permitted reasonable necessary uses of such material in preparation for trial, to
 4
     address their handling at the end of the litigation, and serve the ends of justice, a
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     protective order for such information is justified in this matter.
 6
            3.    Definitions.
 7
                       a. “Party” shall mean any party to this action, including all of its
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                          officers, directors, employees, consultants, retained experts, and
 9
                          outside counsel of record (and their support staffs).
10
                       b. “Non-Party” shall mean any natural person, partnership,
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                          corporation, association, or other legal entity not named as a Party
12
                          to this action.
13
14
                       c. “Designating Party” shall mean the person, Party, or Non-Party

15                        who designates information or documents as “Protected

16                        Information.”
17                     d. “Producing Party” shall mean the person, Party, or Non-Party
18                        producing discovery in this action.
19                     e. “Receiving Party” shall mean any party who receives or is shown
20                        discovery in this action.
21                     f. “Document” shall mean all items listed in Fed. R. Civ. P.
22                        34(a)(1)(A) and (B).
23          4.    Protected Information. The categories of Protected Information
24   include:
25                a.      Information, documents or tangible things protected by the
26                 Privacy Act, 5 U.S.C. § 552a, et seq., without obtaining the prior written
27
                   consent of the individuals to whom such records or information pertain.
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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 4 of 18 Page ID #:667




 1                b.     Personally Identifying Information (PII), which is information that
 2                 permits the identity of an individual to be directly or indirectly inferred,
 3                 or otherwise confidential information regarding any plaintiff, defendant,
 4
                   employee or former employee of any defendant, or Non-Party, including
 5
                   but not limited to date of birth, social security number, email addresses,
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                   phone numbers, mailing addresses, or compensation information, that
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                   would be protected or restricted from disclosure by statute, regulation,
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                   internal agency policy or guidance, but disclosure of which may be
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                   authorized by an order of this Court. With respect to the names of
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                   employees or former employees of any Defendant, the Parties disagree
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                   about whether such names can categorically be classified as Protected
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                   Information under the terms of this Order. Should a dispute arise, the
13
14
                   Parties intend to meet and confer about it pursuant to the terms of

15                 Paragraph 21

16                c.     Non-public information that is designated or treated as (i) For
17                 Official Use Only (FOUO) and Law Enforcement Sensitive (LES), as
18                 well as (ii) information that is protected or restricted from disclosure
19                 under the terms of any other statute or regulation, but which the Court
20                 may order be produced.
21                d.     All other protected documents, information, or tangible things not
22                 identified above that the parties agree in writing or the Court orders
23                 qualify for protection under Federal Rule of Civil Procedure 26(c).
24          5.    Designations. It shall be the duty of the party producing the Protected
25   Information (“Producing Party”) to give notice of information it believes in good faith
26   is covered by this Order. A Party may designate information that it obtained from a
27
     Non-Party pursuant to this Order, if it believes in good faith that it qualifies as
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     Protected Information under this Order. Protected Information shall be designated as


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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 5 of 18 Page ID #:668




 1   such by stamping the phrase “CONFIDENTIAL – SUBJECT TO PROTECTIVE
 2   ORDER,” or a similar marking, on each page of any document or record containing
 3   Protected Information prior to the production of such document or record. For
 4
     Protected Information whose medium makes such marking impracticable, such as
 5
     native electronic files, a Producing Party shall mark any CD-ROM or other storage
 6
     medium, and/or any accompanying paper or email cover letter with “Confidential –
 7
     Subject to Protective Order,” or a similar marking. Categories of documents may be
 8
     marked generally if the identification of individual documents is impracticable.
 9
           6.     A Producing Party may designate as “Attorneys’ Eyes Only Information”
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     any Protected Information the disclosure of which to another Party or Non-Party
11
     would create a substantial risk of serious harm that could not be avoided by less
12
     restrictive means. To do so, a Producing Party shall add the marking “ATTORNEYS’
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14
     EYES ONLY” to the markings described in Paragraph 4. If the Receiving Party

15   disagrees with such marking, it will notify the Producing Party and inform the

16   Producing Party why it believes the designation is improper, and the Parties will meet
17   and confer in good faith about the designation within five business days. If the Parties
18   cannot come to an agreement on the designation, the Producing Party has five (5)
19   additional business days to raise the issue with the Court, such as by moving for a
20   protective order. The Producing Party’s failure to seek relief from the Court relegates
21   the documents originally designated as ATTORNEYS’ EYES ONLY to ordinary
22   protected status under this Order. During the five (5) business days the Producing
23   Party is allotted to raise the dispute with the Court and while the motion with the
24   Court is pending, any information designated as ATTORNEYS’ EYES ONLY will be
25   treated as such. Each Party should segregate materials marked ATTORNEYS’ EYES
26   ONLY from other Confidential Information to prevent disclosure. Material marked
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     ATTORNEYS’ EYES ONLY may not be disclosed to Named Parties, but may be
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     disclosed to: (1) the Parties’ counsel of record and agency counsel, including their


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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 6 of 18 Page ID #:669




 1   associates, clerks, paralegals, litigation support personnel and such other regular and
 2   temporary employees who assist counsel in connection with the action; (2) any court
 3   adjudicating part of this matter, including judges, law clerks, assistants, interpreters,
 4
     and stenographic personnel; (3) any persons specified in Paragraph 9(g), (h), (i), or (j)
 5
     of this Order, once such person or persons have read this Order and agrees in writing
 6
     to be bound by its terms in the form attached hereto as Attachment A.
 7
            7.    Designations – Testimony. For any deposition or examination
 8
     testimony, when the deponent, their counsel, or any Party notes that a question,
 9
     answer, or line of questioning is likely to involve information subject to this Order or
10
     likely to result in the disclosure of Protected Information, that person should so state
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     on the record or by the conclusion of the deposition should state on the record that
12
     they believe certain questions, answers, or lines of questioning are Protected
13
14
     Information. Any Party shall have twenty-one (21) days after receipt of the transcript

15   to designate the deposition transcript, or portions thereof, as Protected Information

16   by providing written notice to all counsel of record. During that twenty-one (21) day
17   period, any questions, answers, or lines of questioning believed to be Protected
18   Information as so stated on the record shall be treated as Protected Information until
19   that twenty-one (21) day period elapses. At the end of the twenty-one (21) days, only
20   those portions of the transcript so designated as Protected Information by a Party
21   through written notice to all counsel of record shall be considered Protected
22   Information. Also at the end of the twenty-one (21) day period, the non-designating
23   Party may challenge the designation of any such question, answer, or line of
24   questioning pursuant to the procedures set forth Paragraph 16. Upon being informed
25   that certain portions of a transcript are designated as Protected Information, each
26   Party must have each copy in their custody, possession or control immediately marked
27
     with the appropriate designation at the appropriate pages.
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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 7 of 18 Page ID #:670




 1         8.      Access to Protected Information. Except as provided in this Order, all
 2   Protected Information produced or exchanged subject to this Order shall be used
 3   solely for the purposes of this action and for no other purpose whatsoever, and shall
 4
     not be published to the general public in any form, or otherwise disclosed,
 5
     disseminated, or transmitted to any person, entity, or organization, except in
 6
     accordance with the terms of this Order.
 7
           9.      Notwithstanding Paragraph 7 of this Order, Documents designated
 8
     “Confidential - Subject to Protective Order” or a similar marking may be disclosed
 9
     to the following:
10
11              a. The Court and its official personnel;
12              b. Counsel of record for the parties;
13
                c. Associates and staff of the counsel of record for the parties, including
14
                   agency counsel, paralegals, office clerks, and other support staff whose
15
                   assistance is required by the counsel working on the case;
16
17              d. Plaintiffs, and excluding Protected Information marked Attorneys’ Eyes
18                 Only as described in Paragraph 5;
19              e. Counsel of record and plaintiffs in Adlerstein et al. v. United States Customs
20                 and Border Protection, No. 4:19-cv-00500-CKJ (D. Ariz), Guan v. Wolf, No.
21
                   1:19-cv-06570 (E.D.N.Y.), and Dousa v. United States Department of
22
                   Homeland Security, 3:19-cv-01255 (S.D. Cal.).
23
                f. Employees of the Federal Government with a need to have access to such
24
                   documents in connection with this litigation, including supervisory
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26
                   officials of one of the Defendants or the Department of Justice,

27                 provided however that this Order shall not prevent any federal employee
28                 from having access to records to which such employee would normally



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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 8 of 18 Page ID #:671




 1                  have access in the regular course of his or her employment;
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                g. Outside experts, witnesses, consultants, or others retained in connection
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                    with this action and their staff, to the extent such disclosure is necessary
 4
                    for preparation for trial, at trial, or at other proceedings in this case;
 5
 6              h. Trial witnesses and deponents in discovery, court reporting personnel,
 7                  translators, and videographers during depositions;
 8              i. Outside litigation support personnel retained by counsel of record to
 9                  assist in the preparation and/or litigation of the action, including contract
10
                    attorneys, outside copying service vendors, or electronic document
11
                    management vendors; and
12
                j. Other persons by written agreement of counsel of record for the parties
13
                    or further order of the Court.
14
              10.   All persons, including the Parties and their respective counsel, to whom
15
     Protected Information is disclosed, are hereby prohibited from disclosing information
16
     designated as Protected Information to any unauthorized person, except as provided
17
     in this Order.
18
              11.   Prior to disclosing any document designated as Protected Information to any
19
20
     person listed in Paragraphs 9(d), (f), (g), (h), and (i), counsel shall provide such person with a

21   copy of this Order and obtain from such person the completed acknowledgment

22   attached as Attachment A stating that he or she has read this Order and agrees to be
23   bound by its provisions and subject to this Court’s jurisdiction. All such
24   acknowledgments shall be retained by counsel for each respective party and shall be
25   subject to in camera review by the Court if good cause is demonstrated by the opposing
26   party.
27            12.   Copies, Summarizations, Extracts Protected. Protected Information
28   designated under this Order may include, without limitation: (a) all copies, extracts,


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 Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 9 of 18 Page ID #:672




 1   and complete or partial summaries prepared from such documents, things, or
 2   information so designated; (b) portions of deposition transcripts and exhibits to
 3   deposition transcripts that contain, summarize, or reflect the content of any such
 4
     documents, things, or information; and (c) portions of briefs, memoranda, or any
 5
     other writings filed with the Court and exhibits thereto that contain, summarize, or
 6
     reflect the content of any such documents, things, or information, provided that any
 7
     publicly filed document containing Protected Information as defined above and in this
 8
     paragraph meets the applicable standard required to limit its public disclosure. A
 9
     Party may make a request to the Producing Party that certain material contained in the
10
     materials specified in subsections (a)-(c) not be treated as Protected Information, or be
11
     redacted. Before any material described in subsections (a)-(c) is shared with anyone
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     not authorized by this Protective Order to receive Protected Information or filed on
13
14
     the public docket, the Receiving Party must first notify the Producing Party of what

15   Protected Information may be implicated in the materials it intends to share or file,

16   and the Parties shall meet and confer in good faith within five (5) days of any such
17   request or notice. If, after the meet and confer process, the Parties are not in
18   agreement as to whether the material in question is Protected Information, the
19   Receiving Party may move the Court for a ruling on the dispute in accordance with
20   Paragraph 13 or Paragraph 16.
21         13.    Briefs or Filings Containing Protected Information. If the Receiving
22   Party seeks to file anything on the public docket containing or disclosing Protected
23   Information, it must either (1) seek and obtain Court approval to lodge or file the
24   Protected Information under seal pursuant to Local Rule 79-5; or (2) meet and confer
25   with the Producing Party at least five (5) days before filing regarding whether the
26   Parties can agree that some or all of the Protected Information can be filed on the
27
     public docket. If the Receiving Party files Protected Information under seal, then the
28
     Receiving Party must meet and confer with the Producing Party within five (5) days


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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 10 of 18 Page ID #:673




 1   after the sealed filing to attempt to agree on proposed redactions for a public version
 2   of the sealed filing. If the parties cannot agree on a public filing with some or all of
 3   the Protected Information redacted, the Receiving Party may move the Court for a
 4
     ruling on the dispute pursuant to the procedures in Paragraph 16, provided that the
 5
     disputed document or information is filed as a restricted document in accordance with
 6
     Local Rule 79-5.
 7
            14.   Court Hearings And Other Pre-Trial Proceedings. Before a Party
 8
     seeks to use Protected Information in open court in pre-trial proceedings, the Party
 9
     intending to use Protected Information shall provide reasonable notice of the
10
     potential disclosure of Protected Information to the Court and the opposing party, so
11
     that the opposing Party or any Non-Party may apply to the Court for appropriate
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     protection in advance of its use in open court, such as a request to clear the
13
14
     courtroom of persons not entitled to receive Protected Information pursuant to

15   Paragraph 7 or to close the proceedings. If a Party seeks to use Protected Information

16   solely to impeach a witness, the Party shall provide notice to opposing counsel
17   immediately before using the Protected Information and provide an opportunity for
18   opposing counsel to move to restrict use of the document or information. The Parties
19   may agree in writing to exempt categories of Protected Information and/or particular
20   documents or information from the restrictions of this Order. If the parties so agree
21   in writing, such exempted information may be disseminated without restriction and
22   used in this proceeding on the public record, pursuant to 5 U.S.C. § 552a(b)(11).
23          15.   Testimony At Pretrial Court Hearings And Other Proceedings. All
24   testimony elicited during hearings and other proceedings that counsel for a Party or
25   Non-Party indicated on the record may be subject to the protections of this Order
26   shall be deemed Protected Information until the expiration of ten (10) days after
27
     delivery of a copy of the transcript of the testimony by the court reporter to counsel
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     who requested a copy of the transcript. Within the ten (10) day period following such


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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 11 of 18 Page ID #:674




 1   mailing of the transcript, any Party may move to designate all or any portion of the
 2   testimony as Protected Information. Upon being informed that certain portions of a
 3   transcript are designated as Protected Information, each Party must have each copy in
 4
     their custody, possession, or control immediately marked with the appropriate
 5
     designation at the appropriate pages.
 6
           16.    Challenge To Designations. At any time prior to the pretrial
 7
     conference, a Party may object to the designation of a document or information as
 8
     Protected Information by giving written notice via email to all counsel for the other
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     Party and the grounds for the objection. The objecting Party shall request to meet and
10
     confer with the other Party prior to submitting the dispute to the Court for a ruling.
11
     If the dispute is not resolved consensually between the parties within five (5) business
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     days of receipt of such a notice of objections, the objecting party may move the Court
13
14
     for a ruling on the objection, provided that the disputed document is filed as a

15   restricted document in accordance with Local Rule 79-5. The documents or

16   information at issue must be treated as Protected Information until the Court has
17   ruled on the objection or the matter has been otherwise resolved.
18         17.    Inadvertent Disclosure Of Protected Material. The failure by a
19   Producing Party to designate specific documents or information as Protected
20   Information shall not, by itself, be deemed a waiver in whole or in part of a claim of
21   confidentiality as to such documents or information. Upon written notice to the
22   Receiving Party of such failure to designate, or of incorrect designation, the Receiving
23   Party shall cooperate to retrieve disseminated copies, and restore the confidentiality of
24   the inadvertently disclosed information beyond those persons authorized to review
25   such information pursuant to Paragraph 8, and shall thereafter take reasonable steps to
26   ensure that the Protected Information is treated in accordance with the designation.
27
     No person or Party shall incur any liability under this Order with respect to disclosure
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     that occurred prior to the receipt of written notice of the mistaken designation.


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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 12 of 18 Page ID #:675




 1         18.    Disclosure To Unauthorized Persons. If information subject to this
 2   Order is disclosed to any unauthorized person either through inadvertence, mistake,
 3   or otherwise without authorization by the Producing Party, or other than in the
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     manner authorized by this Order, the person responsible for the disclosure shall
 5
     immediately (a) inform the Producing Party of all pertinent facts relating to such
 6
     disclosure, including without limitation, the name, address, and telephone number of
 7
     the recipient and his or her employer; (b) use his or her best efforts to retrieve the
 8
     disclosed information and all copies thereof; (c) advise the recipient of the improperly
 9
     disclosed information, in writing, of the terms of this Order; (d) make his or her best
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     efforts to require the recipient to execute an agreement to be bound by the terms of
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     this Order in the form of the declaration attached to this Order as Exhibit A; and (e)
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     take all other reasonable steps to prevent further disclosure by or to the unauthorized
13
14
     person who received the Protected Information.

15         19.    Good Faith Designations. Each Party agrees that designation of

16   Protected Information and responses to requests to permit further disclosure of
17   Protected Information shall be made in good faith and not: (a) to impose burden or
18   delay on an opposing Party, or (b) for tactical or other advantage in litigation. Further,
19   each Party agrees to make best efforts to avoid as much as possible inclusion of
20   Protected Information in briefs and other captioned documents filed in court, in order
21   to minimize sealing and designating such documents as Protected Information.
22         20.    Use Of Information Subject To Order. The Receiving Party’s use of
23   any information or documents obtained from the Producing Party designated as
24   Protected Information pursuant to this Order shall be restricted to use in this litigation
25   (subject to the applicable rules of evidence and subject to the confidentiality of such
26   materials being maintained) and shall not be used by anyone subject to the terms of
27
     this agreement, for any purpose outside of this litigation or any other proceeding
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     between the Parties, except as otherwise provided in this Order.


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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 13 of 18 Page ID #:676




 1          21.    Meet And Confer. Prior to filing any motion or application before the
 2   Court to enforce this Order, the moving party shall notify the other Parties in writing
 3   and meet and confer in good faith in an attempt to resolve their dispute. If the non-
 4
     moving Party fails to meet and confer within five (5) days of receiving notice under
 5
     this Paragraph of the moving Party’s intent to file a motion or application to enforce
 6
     this Order, the moving Party may file the motion or application without such a
 7
     conference.
 8
            22.    Other Actions. If any Party or Non-Party who has received Protected
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     Information is (a) subpoenaed in another action, (b) served with a demand in another
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     action to which it is a Party, or (c) served with any legal process by one not a party to
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     this action, seeking information or material which was produced or designated as
12
     Protected Information by any Party, that Party or Non-Party shall give prompt actual
13
14
     written notice by email within ten (10) business days of receipt of such subpoena,

15   demand, or legal process, to counsel for those who created the Protected Information

16   prior to compliance with the subpoena so as to allow those creators to seek protection
17   from the relevant court(s).
18         23.     Duration And Return. Even after final disposition of this action, the
19   confidentiality obligations imposed by this Order shall remain in effect until a
20   Designating Party agrees otherwise in writing or a court order otherwise directs. This
21   does not apply to any Protected Information introduced as an exhibit for trial. For
22   records the Parties intend to disclose at trial, the obligations under this Order are
23   inapplicable, and the Parties agree to negotiate the terms of any renewed Protective
24   Order for trial exhibits prior to the commencement of trial. For Protected
25   Information not disclosed at trial, the Parties and any other person(s) or entity subject
26   to the terms of this Order agree that the Court shall retain jurisdiction over it and
27
     them for the purpose of enforcing this Order. Final termination of the litigation,
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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 14 of 18 Page ID #:677




 1   including exhaustion of appellate remedies, shall not terminate the limitations on use
 2   and disclosure imposed by this Order.
 3          24.   Unless otherwise instructed by the Court, within sixty (60) days after final
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     conclusion of all aspects of this litigation, including any appeals, any party or person
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     who received Protected Information not disclosed at trial shall certify to the opposing
 6
     parties that those documents containing such Protected Information and that were
 7
     not made public at trial (i) have been returned to counsel of record for the Producing
 8
     Party, or (ii) have been destroyed. However, counsel of record for the Parties shall be
 9
     entitled to retain all litigation documents filed with the Court, including exhibits filed
10
     under seal, copies of depositions, hearings, trial transcripts, and attorney work product
11
     containing Protected Information. Such litigation documents and memoranda shall be
12
     used only for the purpose of preserving files on this action, and shall not, without the
13
14
     written permission of the Designating Party or an order of this Court, be disclosed to

15   anyone other than those to whom such information was actually disclosed, in

16   accordance with this Order, during the course of this litigation.
17          25.   Amendment Or Termination. This Order is without prejudice to the
18   right of any Party to apply at any time for additional protection, or to amend, modify,
19   or rescind the restrictions of this Order. The Party must provide written notice to
20   counsel of record for all parties in this action specifying the portion(s) of this Order it
21   seeks to amend, modify, or rescind and any additional provisions it may seek to add to
22   the Order at least five (5) business days in advance of filing any such motion. The
23   parties expressly reserve the right to seek modification, amendment, or rescission of
24   this Order by mutual agreement in writing.
25          26.   Enforcement. All persons to whom Protected Information is disclosed
26   shall be subject to the jurisdiction of this Court, for the purpose of enforcing this
27
     Order. This Order shall continue in full force and effect, and shall be binding upon
28



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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 15 of 18 Page ID #:678




 1   the parties and all persons to whom Protected Material has been disclosed, both
 2   during and after the pendency of this case.
 3         27.    Limitations. Nothing in this Order shall be deemed to restrict in any
 4
     manner the use by any Party of its own documents or materials. Nothing in this
 5
     Order should be construed as prohibiting a Non-Party from seeking additional
 6
     protections of records or information that it owns or controls.
 7
           28.    All Objections, Redactions, Withholdings, Rights Preserved. This
 8
     Order is intended to provide a mechanism for handling the disclosure or production
 9
     of Protected Information to which there is no objection other than confidentiality.
10
     The protection afforded by this Order shall in no way affect a Party’s right to
11
     withhold, redact documents or seek to designate information as: (a) privileged under
12
     the Attorney-Client or other privilege, (b) protected by the Attorney Work Product
13
14
     Doctrine, (c) protected by the Law Enforcement Privilege, Deliberative Process

15   Privilege, or other similar privilege; or (c) otherwise exempted from discovery under

16   Rule 26 of the Federal Rules of Civil Procedure or under any law. Additionally, this
17   Order shall not prejudice the right of a Party to: (a) seek additional protective
18   treatment, such as to seek additional disclosures, for any information it considers to be
19   very highly sensitive, or otherwise exempt from disclosure, such that the protections
20   in this Order would be insufficient, (b) object to the designation of any document or
21   information as Protected Information, or (c) seek any modification of or relief from
22   any provision of this Order, either generally or as to any particular Protected
23   Information, by properly noticed motion with notice to all Parties and their respective
24   counsel.
25         29.    This Order does not constitute any ruling on the question of whether any
26   particular document or category of information is subject to the Privacy Act or is
27
     otherwise properly discoverable, and does not constitute any ruling on any potential
28



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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 16 of 18 Page ID #:679




 1   objection to the discoverability, relevance, or admissibility of any document or
 2   information.
 3          30.     Nothing in this Order waives Defendants’ right to use, disclose, or
 4
     disseminate the Protected Information in accordance with the Privacy Act or other
 5
     statutes, regulations, or policies.
 6
            31.     Nothing in this Order shall be construed as a waiver of any defense, right,
 7
     objection, or claim by any party, including any objection to the production of
 8
     documents and any claim of privilege or other protection from disclosure, and this
 9
     Order shall not be precedent for adopting any procedure with respect to the
10
     disclosure of any such other information.
11
            32.     Nothing in this Order shall require production of information that is
12
     prohibited from disclosure (even with the entry of this Order) by other applicable
13
14
     privileges, statutes, regulations, or authorities.

15
16
17           7/23/2020
     Dated: ______________________                        ______________________________
18                                                        Honorable John E. McDermott
                                                          United States Magistrate Judge
19
20
     Presented by:
21
22    /s/ Sophie Kaiser
     SOPHIE KAISER
23
     MICHAEL DREZNER
24   MARTIN M. TOMLINSON
25
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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 17 of 18 Page ID #:680




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Case 2:19-cv-06338-SVW-JEM Document 41 Filed 07/23/20 Page 18 of 18 Page ID #:681




 1                                                                    EXHIBIT A
 2
                          UNITED STATES DISTRICT COURT
 3                       CENTRAL DISTRICT OF CALIFORNIA
 4
     NORA PHILLIPS; ERIKA PINHEIRO;                  NO. 2:19-CV-6338-SVW-JEM
 5   and NATHANIEL DENNISON,
                    Plaintiffs,
 6        v.
 7   UNITED STATES CUSTOMS AND
     BORDER PROTECTION; MARK
 8   MORGAN, in his official capacity as
     Acting Commissioner of U.S. Customs
 9   and Border Protection; UNITED
     STATES IMMIGRATION AND
10   CUSTOMS ENFORCEMENT;
     MATTHEW ALBENCE, in his official
11   capacity as acting director of United States
12
     Immigration and Customs Enforcement;
     FEDERAL BUREAU OF
13   INVESTIGATION; and
     CHRISTOPHER WRAY, in his official
14   capacity as director of the Federal Bureau
     of Investigation,
15                         Defendants.
16             ACKNOWLEDGMENT OF STIPULATION AND ORDER
17
            I, ______________________________, hereby acknowledge that I have read
18   the Protective Order (“Order”) entered on _______________________, in the
19   above-captioned case.
            I hereby agree to be bound by the terms and conditions of this Order, including
20
     that the Protected Information, as defined in the Order, may be used only in this case
21   and not for any other purpose. I agree not to disseminate or disclose Protected
     Information or the contents thereof. I further acknowledge that my duties under the
22
     Order shall survive the termination of this case and are permanently binding on me
23   and that I am subject to the contempt powers of this Court for violation of the Order.
24
     Dated: ______________________                   ___________________________
25                                                   Printed Name
26
                                                     ____________________________
27                                                   Signature
28



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